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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 NORTHERN DIVISION

UNITED STATES OF AMERICA                             FIRST SUPERSEDING INDICTMENT

v.                                                   CRIMINAL NO. 3:12cr88DCB-FKB

AUNDRA MASON

                                    ORDER OF DISMISSAL
                                         COUNT 1

        Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and by leave of Court

endorsed herein, the United States Attorney for the Southern District of Mississippi hereby

dismisses Count 1 of the Criminal Indictment against the defendant, AUNDRA MASON,

without prejudice.


                                                     GREGORY K. DAVIS
                                                     United States Attorney



Date:    FEBRUARY 4, 2014                            By:    s/ Erin O. Chalk
                                                     Assistant U. S. Attorney

        Leave of Court is granted for the filing of the foregoing dismissal of Count 1.

        ORDERED this the 5th day of February, 2014.



                                                s/ David Bramlette
                                              UNITED STATES DISTRICT JUDGE
